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                                                                                               CLERK. I.J.S. ~`~ V6?RIC1 COURT



                                        UNITED STATES DISTRICT COURT                            ~   ~ 3 ~ 2OI9
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                             EN7HAL UISTRIGTsOF CALIFY

  United States of America                                       CASE NUMBER


                                                   PLAINTIFF I    C K-           Na        ~ ~ - O(~ ~p ~~ Z
                              v.

                                                                 DESIGNATION AND APPEARANCE OF COUNSEL
                                              DEFENDANT(S).


                                             DESIGNATION OF COUNSEL

~
.      I, the undersigned defendant in the above-numbered case, hereby designate and appoint
   ~wt as          mI o. (7 ~ ~I r~ e.,                                       ,Esquire, as my attorney to appear for
me throughout all proceedings in this case.


       ~ °~3~ ~ ~q                                                   ~,-
Date                                                      Defendant's Signature



                                                          City and State




                                             APPEARANCE OF COUNSEL

        I,    ~ ~v wi,a,.S         ~.      G ~~~ ~~•,                                         Attorney at law duly admitted to
practice before the United States District Court for the Central District of California, hereby consent to my designation and
appointment as counsel for the above-named defendant. The Clerk is therefore requested to enter my appearance as
defendant's counsel.

         Receipt is hereby acknowledged of a copy ofthe Indictment r I                io
       v ~3 ~ ~ ~9
Date                                                      Attorney's Signature



California State Bar Number                               Street Address

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                                                          City, State, ZipCode

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                                                          Telephone Number                   Fax Number

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                                                          E-mail Address




CR-14 (01/07)                           DESIGNATION AND APPEARANCE OF COUNSEL
